   Case 4:09-cr-00043-SPF
  Lindse~ S~'---          Document 130-2 Filed in USDC ND/OK on 08/19/09 Page 1 of_3
  From:            "Hall, Kathie (USAOKN)" <Kathie.Hall@usdoj,90v>
  To:              "Lindsey Springer" <lindsey@mindspring.com>
  Cc:              "O'Reilly, Charles A. (TAX)" <CharlesAO'Reilly@usdoj.gov>
  Sent:            Monday, August 17, 20095:02 PM
 Subject:          RE: Additional Discovery U.S. v. Springer, Stilley; 09-CR-43-SPF


Mr. Springer
The additional discovery documents will be available for you this
date, 17 Aug. 2009, (as well as the discovery documents that have
not yet been picked up) at the United States Attorney's Offi   for th,e
   rthern District of Oklahoma; Tulsa; in our thi fl r        ion
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Legal Assistant.                   Criminal Division
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II!] \X,/est Sev'e11t11 Street, StIlle 3C~C#
Tl.llsa~ Okla_noma                         7 q~119
918.382.2700                       X3338
918.560.'7954                      F'ax




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From: Lindsey Springer [mailto:lindsey@mindspring.mm]
Sent: Monday, August 17, 20094:54 PM

                                                                                                                                                                     8/19/2009
To: Hall, Kathie (USAOKN)
  Case 4:09-cr-00043-SPF
Subject:                           Document
          Re: Additional Discovery U.S.          130-2
                                        v. Springer,       Filed
                                                     Stilley;    in USDC ND/OK on 08/19/09
                                                              09-CR-43-SPF                             Page 2 of 3

I have made several trips down town to get discovery and the piecemeal discovery places a burden that apparently
I mlJst endure but such burden will have to be when I get down there to get it Thanks, I should be there within the
next week or two. Maybe in just a couple days. I presume it will be waiting for me in the front office. If not, let me
know where it is so that when I go down town I can come pick it up. Lindsey
 ----- Original Message -----
 From: HaiL K:;1Jhie{USAOKN)
 To:i"indsElY Sprinaer
 Cc: Q~Reiiiv.Chari~~LA.(TAXJ; Sngke. Ken {USAOKN)
 Sent: Monday, August 17, 20094:02 PM
 Subject: Additional Discovery U.S. v. Springer, Stilley; 09-CR-43-SPF



  Mr. Springer

 This is to advise you that as of this afternoon, there is a packet of
 additional discovery in U.S. v. Springer and Stilley, Case no. 09-CR-
 43-SPF, waiting for you to pickup in our third floor reception area.

  If you have any questions, please call.

 Thank you.
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 Legal Assistant, Criminal Division
 UNITED STATES ATTORNEY'SOFFICE

  110 West Seventh Street, Suite 300

 Tulsa, Oklahoma                     74119
 918.382.2700                     X3338

 918.560.7954                    Fax

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                                                                                                           8/19/2009
  Case
This     4:09-cr-00043-SPF
     communication    is intended Document
                                  for the sole 130-2  Filed
                                               use of the    in USDC
                                                          individual    ND/OKit on
                                                                     to whom        08/19/09 This
                                                                                is addressed. Page 3 of 3
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communication at the address above via the us. Postal Service. Thank you.




                                                                                              8/19/2009
